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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE THE HONORABLE TIMOTHY M. REIF

 EREĞLI DEMIR VE ÇELIK
   FABRIKALARI T.A.Ş.

                         Plaintiff,
 v.                                                         22-cv-00349

 UNITED STATES INTERNATIONAL
   TRADE COMMISSION,

                         Defendant.


                       OPPOSITION TO MOTION TO INTERVENE
                              OF USSC CORPORATION

       Plaintiff Ereğli Demir ve Çelik Fabrikaları T.A.Ş. (Erdemir), by and through its counsel,

opposes the Motion To Intervene And For Leave To File Answer submitted by proposed

defendant-intervenor, U.S. Steel Corporation (USSC). USSC seeks permissive intervention in

this case under 28 U.S.C. § 2631(j) and Rules 24(b) and (c) of the Rules of this Court.

       Erdemir filed this appeal under 28 U.S.C. § 1581(i)(1)(B) and (D) and the Administrative

Procedure Act (“APA”), 5 U.S.C. § 702, 704, & 706, because the decision Erdemir appeals here

– the Commission’s unlawful decision not to initiate a reconsideration proceeding – is not a

decision listed under 19 U.S.C. § 1516a. Thus, the general statutory provision for intervention

with leave of this Court under 28 U.S.C. § 2631(j) and the specific Court rule for permissive

intervention under Rule 24(b) of the Rules of this Court apply to USSC’s motion. This Court has

previously clarified: “{i}n 28 U.S.C. § 1581(i) cases, intervention is left to the sound discretion

of the court.” See Neo Solar Power Corp. v. United States, Slip Op. 16-60, 2016 Ct. Intl. Trade

LEXIS 58 at *2 (June 17, 2016) (citing Vivitar Corp. v. United States, 7 CIT 165, 169, 585 F.

Supp. 1415, 1419 (1984) (applying USCIT Rule 24(b) and 28 U.S.C. § 2631(j)); see also


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Severstal Exp. GmbH v. United States, Slip Op. 18-41, 2018 Ct. Intl. Trade LEXIS 41 (April 13,

2018) (addressing permissive intervention in a case arising under 28 U.S.C. § 1581(i)).

        Permissive intervention under Rule 24(b) of this Court’s rules is not available because

USSC has not established how it would be adversely affected or aggrieved by a decision in this

case, or that its participation would not cause undue delay and prejudice to the original parties to

this proceeding. USSC essentially copies the motion submitted by Nucor but adds inapposite

case law and an irrelevant “practical” argument. Further, although this Court recently granted

intervention to three domestic interested parties, Erdemir has filed a request for reconsideration

of those orders. See ECF43, Mot. for Reconsideration. For the reasons provide below and in

Erdemir’s Motion for Reconsideration, this Court should deny permissive intervention and

dismiss USSC’s motion with prejudice.

I.      USSC FAILED TO ESTABLISH THAT IT WOULD BE ADVERSELY
        AFFECTED OR AGGRIEVEDBY A DECISION IN THIS CASE

        The Court should reject USSC’s motion to intervene permissively under Rule 24(b)

because USSC has not established that it would be adversely affected or aggrieved by a decision

in this case. Permissive intervention requires that the movant “be adversely affected or

aggrieved by a decision in a civil action pending in the Court of International Trade.” 28 U.S.C.

§ 2631(j). There is no possible outcome of this case that could adversely aggrieve or affect

USSC.

        USSC asserts that it has a “has a strong interest in the outcome in this litigation as it

could jeopardize the antidumping order that USSC petitioned for and now benefits from as a

domestic producer of hot-rolled steel.” USSC Mot. at 2. But this assertion is wrong because the

outcome of this action will have no effect on the antidumping order.




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       This Court will not decide the merits of a reconsideration proceeding in this action, that is

for the Commission to do in the first instance. This Court will address only whether the

Commission’s decision not to initiate a reconsideration proceeding presents a sufficient rationale

in light of legal authorities applicable to the factual circumstances presented. Viewed in this

correct light, there are only two possible outcomes of this action: (1) affirmance of the

Commission’s decision not to initiate a reconsideration proceeding, or (2) affirmance of a

Commission remand determination to initiate a reconsideration proceeding. And while the final

outcome in this action may be preceded by one or more remand proceedings, any such remand

would only be an interim step in reaching one of these two possible outcomes.

       Neither of these two actions can adversely aggrieve or affect USSC. If this Court affirms

the Commission’s refusal to initiate a reconsideration proceeding, the outcome is the result

USSC hopes for: that Erdemir remain subject to the AD order. USSC would not be adversely

affected or aggrieved by that outcome. Alternatively, if this Court affirms a decision by the

Commission after remand to initiate a reconsideration proceeding, Erdemir – which is currently

subject to the AD order – will continue to be subject to the AD order when that reconsideration

proceeding begins. Either way, USSC cannot be adversely affected or aggrieved by the outcome

of this appeal of the decision not to initiate a reconsideration proceeding.

       USSC’s also cannot be adversely affected or aggrieved because its asserted interests do

not match the substance of this action. This Court in GreenFirst, explained the same principle.

There, GreenFirst was not attacking the order itself, it was only challenging Commerce’s refusal

to initiate a changed circumstances review. See GreenFirst, 577 F. Supp. 3d at 1354 (noting that

proposed intervenor “fail{ed} to reconcile its purported interest in {that} action with what




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GreenFirst seeks.”). Because USSC’s asserted interest does not match the substance of this

action, it’s claim to be adversely affected or aggrieved must be rejected.

       Denying USSC’s motion for failure to demonstrate how it would be adversely affected or

aggrieved by this case will not limit USSC’s ability to protect its interests in other contexts.

USSC’s ability to protect any interest it has will be preserved because the Commission likely

will1 allow USSC to participate in a reconsideration proceeding and raise every argument USSC

believes is relevant. Further, requiring USSC to wait to raise its arguments in an appropriate

setting is the correct outcome: this Court should allow the Commission to address USSC’s

arguments in the first instance. See, e.g., Motor Vehicle Mfrs. Ass'n of U.S., Inc. v. State Farm

Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983) (“It is well-established that an agency’s action must

be upheld, if at all, on the basis articulated by the agency itself.”); INS v. Ventura, 537 U.S. 12,

16, 123 S. Ct. 353, 154 L. Ed. 2d 272 (2002) (“A court of appeals ‘is not generally empowered to

conduct a de novo inquiry into the matter being reviewed and to reach its own conclusions based

on such an inquiry.’ {} Rather, ‘the proper course, except in rare circumstances, is to remand to

the agency for additional investigation or explanation.’ Ibid.” (Citing Florida Power & Light Co.

v. Lorion, 470 U.S. 729, 744, 84 L. Ed. 2d 643, 105 S. Ct. 1598 (1985)). Giving USSC the

opportunity to raise those same arguments here would be premature.

       USSC’s citation to Canadian Wheat Bd. is inapposite. See USSC Mot. at 2 (citing

Canadian Wheat Bd. v. United States, 637 F. Supp. 2d 1329 (Ct. Int’l Trade 2009). The

plaintiffs in Canadian Wheat Bd. challenged Commerce’s refusal to follow this Court’s order to



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 To the extent USSC has concerns that the Commission will not allow it or other interested
parties to participate in the reconsideration proceeding – and Erdemir knows no reason why such
would be the case – the Court could order the Commission to allow participation by all interested
parties, or USSC could later challenge the Commission’s decision not to allow USSC to
participate in any reconsideration proceeding.
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liquidate pre-Timken Notice entries without duties in accordance with a NAFTA panel’s final

ruling. Canadian Wheat Bd., 637 F. Supp. 2d at 1332. The parties and proposed intervenors in

that case (brought under 28 U.S.C. § 1581(i)) all had a direct stake in the outcome of the case in

terms of duties required, the protection of a countervailing duty order, or the integrity of the

NAFTA system. Id. Further, in contrast to the absence of any underlying proceeding in

Erdemir’s appeal, the parties in Canadian Wheat Bd. had all participated in the underlying

NAFTA and administrative proceedings. Thus, USSC’s citing to Canadian Wheat Bd.‘s grant of

permissive intervention where “the facts of the case are necessarily shared by all entities

interested in the case,” is inapposite to its motion here.

        USSC fails to demonstrate it would be adversely affected or aggrieved by any possible

outcome of this case, and thus does not qualify for permissive intervention per the requirement of

28 U.S.C. § 2631(j).

II.     USSC HAS NOT DEMONSTRATED THAT INTERVENTION WOULD NOT
        UNDULY DELAY OR PREJUDICE THE ADJUDICATION OF THE RIGHTS OF
        THE ORIGINAL PARTIES

        USSC has not demonstrated that intervention would not unduly delay or prejudice the

adjudication of the rights of the original parties. USSC’s sole argument about delay and

prejudice is that this case is at a “very early stage.” USSC Mot. at 3. USSC’s single assertion is

insufficient to carry its burden.

        Under Rule 24(b)(3) of the Rules of this Court, and section 2631(j)(2), the Court must

“consider whether the intervention will unduly delay or prejudice the adjudication of the rights of

the original parties.” This Court has previously explained that “{a}additional parties always add

additional time, effort, and expense.” Neo Solar Power, Slip Op. 16-60, 2016 Ct. Intl. Trade

LEXIS 58 at *2-*3 (citing Crosby Steam Gage & Valve Co. v. Manning, Maxwell & Moore, Inc.,



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51 F. Supp. 972, 973 (D. Mass. 1943)); Severstal, Slip Op. 18-41, 2018 Ct. Intl. Trade LEXIS 41

at *6 (same).

       The mere fact that a motion to intervene has been filed early in the proceeding is not

something that can or should be considered sufficient to add “time, effort, and expense,” to any

proceeding. Neo Solar Power, Slip Op. 16-60, 2016 Ct. Intl. Trade LEXIS 58 at *2-*3 (citing

Crosby, 51 F. Supp. at 973); Severstal, Slip Op. 18-41, 2018 Ct. Intl. Trade LEXIS 41 at *6

(same). If filing a motion to intervene at a very early stage in the proceeding were sufficient, any

interested party filing its motion early in the proceeding would be allowed to intervene. See Neo

Solar Power, Slip Op. 16-60, 2016 Ct. Intl. Trade LEXIS 58 at *5 (“other domestic producers

could seek to intervene on similar grounds in support of similar tangential interests, which would

only cause undue delay and prejudice to the present parties” (citing Vivitar, 7 CIT at 169, 585 F.

Supp. at 1419 ("Because of the potential for a vast number of applications for intervention by

persons in the position of {the moving party}, permitting intervention does not appear to be in

the interest of judicial economy.”); Severstal, Slip Op. 18-41, 2018 Ct. Intl. Trade LEXIS 41 at

*5 (same, denying intervention under USCIT R.24(b)(1)(B).

       USSC does not address delay during the proceeding or increased cost, effort, and expense

caused by additional parties participating, seeking extension of time for briefing, and filing

additional volumes of briefing. (Here, four parties seek to intervene, and three have been granted

intevention.) Indeed, USSC has already been the source of unnecessary delay and prejudice by

filing a motion to intervene under a rule for intervention inapplicable to this case. See ECF 13,

USSC Mot. to Intervene as a Matter of Right. That careless filing wasted both Erdemir’s and

this Court’s time and resources, and delayed resolution of intervention issues.




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       Without further discussion of all aspects of delay and undue prejudice – including delays

during the proceeding, increased costs, required effort, and overall expense caused by the

presence of USSC and other intervenors in this case, the Court can only speculate that USSC’s

arguments would only be duplicative of the Commission’s arguments, which weighs against

intervention. Severstal, Slip Op. 18-41, 2018 Ct. Intl. Trade LEXIS 41 at *6. An

       To the extent USSC has arguments different from the Commission’s, they are not

relevant to this action. See, Motor Vehicle, 463 U.S. at 50 (“It is well-established that an

agency’s action must be upheld, if at all, on the basis articulated by the agency itself.”). Further,

although USSC’s “‘defense and that of the government are the same, this defense belongs, in

essence, to the government, not {the movant}.’” Severstal, Slip Op. 18-41, 2018 Ct. Intl. Trade

LEXIS 41 at *6 (quoting Neo Solar, Slip Op. 2016-60, 2016 WL 3390237, at *2). Accordingly,

because USSC’s arguments can only be duplicative or irrelevant, thus lead to delay and its

participation – like all other parties who this Court should deny permissive intervention.

III.   USSC’S CLAIMS TO HAVE PARTICIPATED IN THE UNDERLYING
       PROCEEDING MUST BE REJECTED

       USSC claims it “participated in the Commission proceeding that Erdemir directly

contests by filing comments, as noted in the determination.” USSC Mot. at 2. This claim is

false. The claim also is legally irrelevant because participation in a proceeding is not an element

under this Court’s analysis for permissive intervention.

       USSC’s claim to have participated in a nonexistent proceeding is misleading and must be

rejected. The Federal Register notice USSC cites acknowledges USSC’s comments filed in

response to the Commission’s invitation to submit comments on whether to initiate a changed

circumstances review (CCR). See USSC Mot. at 2 (citing Hot-Rolled Steel Flat Products From

Turkey; Denial of Request To Institute a Section 751(b) Review; Denial of Request To Institute a


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Section 751(b) Review or Reconsideration Proceeding Concerning the Commission’s Affirmative

Determination in Investigation No. 731–TA–1296 (Final), Hot-Rolled Steel Flat Products From

Turkey, 87 Fed. Reg. 73,331, 73,332 (Int’l Trade Comm’n Nov. 29, 2022)). The instant action

does not contest the Commission’s decision not to initiate a CCR. USSC did not point to any

other submission besides its submission in the CCR proceeding, nor can it. USSC did not submit

comments in a proceeding to determine whether the Commission should initiate a

reconsideration proceeding. There was no such formal proceeding.

       This Court in GreenFirst dismissed a similar claim by proposed intervenor there, the

COALITION, that its participation in the underlying changed circumstances review (CCR)

justified intervention of right. GreenFirst Forest Prods. v. United States, 577 F. Supp. 3d 1349,

1355 (Ct. Int’l Trade 2022). This Court in GreenFirst rejected the claim because there was no

proceeding:2

               the COALITION may have an interest in challenges to a CCR in
               which it participates, but there was no CCR here. Commerce
               decided not to conduct a CCR, which is the administrative
               proceeding in which the COALITION would participate. Having
               not conducted the relevant administrative proceeding, the
               COALITION has no participatory interest that is relevant to
               GreenFirst’s action.

       Similar to this Court’s holding in GreenFirst, domestic producers USSC did not

participate in a reconsideration proceeding because there was no reconsideration proceeding.

Erdemir requested a reconsideration proceeding and the Commission denied Erdemir’s request.



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  Id. The Department of Commerce CCR proceedings – similar to the Commission
reconsideration proceeding – is not a proceeding until formally initiated. See 19 U.S.C. §
1675(b); 19 C.F.R. § 351.216(b), (d) (requiring initiation of a CCR if Commerce finds a review
is warranted). In contrast to Commerce CCRs and Commission remand proceedings, the
Commission CCR procedure requires that the Commission publish notice of receipt of a request
for CCR and invite to interested parties to comment on whether a CCR should be initiated, later
publishing the decision whether to initiate. 19 C.F.R. § 207.45(b).
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See ECF 14 at ¶¶21-23, 26, 30. The Commission did not request comments on whether to

initiate a reconsideration proceeding as it did with Erdemir’s separate request for a CCR. See

ECF 14, Amended Complaint at ¶¶27-28, 30. The Commission did not otherwise take any action

to set up a proceeding in response to Erdemir’s request.

       Further, while USSC accurately states that it participated in the five-year review of the

antidumping duty order on hot-rolled steel from Turkey, this statement is meaningless. USSC

Mot. at 2 (citing Certain Hot-Rolled Steel Flat Products from Australia, Brazil, Japan, Korea,

the Netherlands, Turkey, and the United Kingdom: Continuation of Antidumping Duty Orders

(Australia, Japan, Korea, the Netherlands, Turkey, and United Kingdom) and Countervailing

Duty Order (Korea) and Revocation of Antidumping and Countervailing Duty Orders (Brazil),

87 Fed. Reg. 78,642 (Int’l Trade Comm’n Dec. 22, 2022)). The sunset review was not a

reconsideration proceeding; and in the sunset review, the Commission specifically did not

address Erdemir’s request for reconsideration. See Amended Complaint, ¶34 (“the Commission

declined to address the arguments in the sunset review, explaining that the Erdemir raised the

arguments in ‘proceedings outside of these {sunset} reviews and the Commission has addressed

them there’”) (quoting Hot-Rolled Steel from Australia, Brazil, Japan, Korea, the Netherlands,

Turkey, and the United Kingdom, Inv. Nos. 701-TA-45-46 and 731-TA-1291-1297 (Review),

and 731-TA-808 (Fourth Review) USITC Pub. 5380 (Nov. 2022), at 48 & n.298.

IV.    IT WOULD NOT MAKE LOGICAL SENSE TO GRANT INTEVENTION HERE

       Contrary to USSC’s claim, it would not make logical sense to grant intervention here.

USSC claims it would make logical sense because the outcome of this case could affect other

cases. See USSC Mot. at 3. The mere fact that the outcome of one case may affect another does

not confer standing or rights to intervene on parties to the other case. For example, an appeal of

an antidumping duty order after the original investigation could lead to revocation of the order
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and render moot appeals of subsequent administrative reviews, scope rulings, or changed

circumstances reviews. Yet, if a proposed intervenor in the appeal of the order did not

participate in the investigation, it could not intervene, regardless of how connected the cases may

be.

       Further, this argument strays outside the requirements of 28 U.S.C. § 2631(j) and this

Court’s Rule 24(b). USSC has not established that it is adversely affected or aggrieved, or that

its participation would not unduly delay or prejudice the adjudication of rights of the original

parties. USSC’s failure to establish both requirements for permissive intervention is fatal to its

motion, and any claim to logic cannot overcome failure to establish either or both of these

requirements.

V.     CONCLUSION

       USSC has not established how it would be adversely affected or aggrieved by a decision

in this case, or that its participation would not cause undue delay and prejudice to the original

parties to this proceeding. Both findings are required to support a motion for permissive

intervention under Rule 24(b) of this Court’s rules. Accordingly, this Court should deny

permissive intervention under Rule 24(b), and dismiss USSC’s motion with prejudice.

                                                      Respectfully submitted,

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